Case 3:24-cv-09248-RK-JTQ       Document 2     Filed 09/18/24   Page 1 of 3 PageID: 34



PHILIP R. SELLINGER                        KRISTEN CLARKE
United States Attorney                     Assistant Attorney General
                                           Civil Rights Division

MICHAEL E. CAMPION                         CARRIE PAGNUCCO
Chief                                      Chief
SUSAN MILLENKY                             JENNIFER A. SLAGLE PECK
Assistant U.S. Attorney                    Deputy Chief
Civil Rights Division                      MARTA CAMPOS
U.S. Attorney’s Office                     NATHAN SHULOCK
970 Broad Street                           Trial Attorneys
Newark, NJ 07102                           Housing and Civil Enforcement Section
(973) 645-2700                             950 Pennsylvania Ave. NW – 4CON
                                           Washington, DC 20530
                                           (202) 514-4713


                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA,
                                                Civil Action No. 3:24-cv-09248
                         Plaintiff,
             v.

  OCEANFIRST BANK, NATIONAL
  ASSOCIATION,

                         Defendant.



       NOTICE OF JOINT MOTION FOR ENTRY OF CONSENT ORDER

      Please take notice that plaintiff the United States of America and defendant

OceanFirst Bank, National Association (collectively, “the Parties”) hereby jointly and

respectfully request that this Court enter the attached agreed consent order as an order

of the Court. See Attachment 1. In support of this motion, the Parties submit the

accompanying memorandum of law. See Attachment 2.
Case 3:24-cv-09248-RK-JTQ     Document 2      Filed 09/18/24   Page 2 of 3 PageID: 35




Dated this 18th day of September, 2024



                               Respectfully submitted,

FOR PLAINTIFF UNITED STATES OF AMERICA:


PHILIP R. SELLINGER                      KRISTEN CLARKE
United States Attorney                   Assistant Attorney General
                                         Civil Rights Division


s/ Susan Millenky                        s/ Nathan Shulock
MICHAEL E. CAMPION                       CARRIE PAGNUCCO
Chief                                    Chief
SUSAN MILLENKY                           JENNIFER A. SLAGLE PECK
Assistant U.S. Attorney                  Deputy Chief
Civil Rights Division                    MARTA CAMPOS
U.S. Attorney’s Office                   NATHAN SHULOCK
970 Broad Street                         Trial Attorneys
Newark, NJ 07102                         Housing & Civil Enforcement Section
Phone: (973) 645-2700                    950 Pennsylvania Ave. NW – 4CON
Fax: (973) 297-2010                      Washington, DC 20530
Email:                                   Phone: (202) 514-4713
susan.millenky@usdoj.gov                 Fax: (202) 514-1116
                                         E-mails:
                                         marta.campos@usdoj.gov
                                         nathan.shulock@usdoj.gov
Case 3:24-cv-09248-RK-JTQ   Document 2   Filed 09/18/24   Page 3 of 3 PageID: 36




FOR DEFENDANT OCEANFIRST BANK, NATIONAL ASSOCIATION:



ANDREA K. MITCHELL
Managing Partner
CHRISTOPHER T. NAPIER
Partner
Mitchell Sandler PLLC
1120 20th St., NW
Suite 725
Washington, DC 20036
Phone: (202) 886-5260
Emails:
amitchell@mitchellsandler.com
cnapier@mitchellsandler.com
